                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MASSACHUSETTS




RANDY COPLEY, KENNETH
MCLAUGHLIN, and JOSHUA WOOD,

          Plaintiffs,                     Civil Action No. 1:14-cv-10270-DPW

     v.                                   Motion for Leave Granted on
                                          March 28, 2014
CITY OF LOWELL,

          Defendant.


                        REPLY IN SUPPORT OF
          PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
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I.      INTRODUCTION

       In its Opposition to Plaintiffs’ Motion for Preliminary Injunction, Defendant City of

Lowell (the “City”) repeatedly obfuscates the Ordinance and ignores case law that undercuts its

position.

       The Lowell Ordinance Plaintiffs challenge does two things. First, it gives Lowell police

complete discretion to order all those soliciting for charity in the Downtown Lowell Historic

District (which encompasses most of downtown Lowell) to stop—or to order none to stop, or to

order only those singled out by police to stop. The Ordinance gives police no guidelines in

deciding how to exercise this discretion against charitable solicitors, and contains no requirement

that solicitors be acting “aggressively” before they are required to stop at risk of arrest. The City

has identified no case anywhere in the country upholding a law granting such blanket authority

to police to prohibit peaceful solicitation in an entire downtown area, and Plaintiffs can identify

none. On the other hand, the Ordinance’s grant of this authority to prohibit peaceful solicitation

is clearly inconsistent with numerous decisions (1) striking on First Amendment grounds laws

that generally ban charitable solicitation and (2) striking on Due Process grounds laws that grant

similar unfettered discretion to police. The City’s argument that the promotion of tourism can

justify the City’s blanket ban has never been accepted by any court. That theory clearly proves

too much; under it, charitable solicitors could be excluded from most of Boston or Manhattan.

Importantly, this part of the Lowell Ordinance has nothing to do with Thayer v. Worcester, the

case pending before the First Circuit on which the City places so much stock.

       Second, Lowell’s Ordinance imposes a ban on so-called “aggressive” panhandling, which

is at issue in the Thayer case pending at the First Circuit. With respect to the “aggressive”

panhandling ban, Plaintiffs respectfully submit that Judge Hillman erred in denying a

preliminary injunction in Thayer. Regardless of the outcome of the Thayer appeal, the evidence


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in this separate case involving the separate Lowell Ordinance demonstrates that a preliminary

injunction is warranted. In response to this Motion, Lowell has pointed to “several dozen”

incidents of purported misconduct by panhandlers over the course of nearly a year, Opp. at 11,

yet the vast majority do not involve conduct criminalized by the new Ordinance. Instead, the

incident log primarily reflects cases of (1) trespassing; (2) other conduct that is already the

subject of existing criminal laws; or (3) generalized complaints about panhandling without any

indication that the panhandler was engaged in conduct deemed “aggressive” by the Ordinance.

Against the paucity of instances in which the Ordinance might arguably be applicable and might

arguably be constitutional, the Ordinance clearly precludes a vast swathe of constitutionally-

protected conduct: e.g., all charitable solicitation, no matter how passive and non-threatening,

near bus stops, or near people standing in a line, or near parking garages (among many other

locations).   Thus, even if the Ordinance has some constitutional applications, it is plainly

unconstitutionally overbroad and is not narrowly tailored.

       The Court should find that plaintiffs have a likelihood of success on the merits of their

claim and have satisfied the other requirements for a preliminary injunction, and enjoin

enforcement of Lowell’s new Ordinance pending trial. Lowell endured without this new ban on

peaceful solicitation for many years, and can surely forebear enforcement a few months more

(and continue relying on existing laws) while the case proceeds to trial.

II.     ARGUMENT

        A.      No Case Has Upheld A Ban On All Solicitation In A Downtown Area

       The City’s principal theme in its Opposition is to express incredulity that Plaintiffs even

filed this suit, in light of a supposed uniformity of opinion that ordinances similar to the Lowell

Ordinance are constitutional and in light of the decision by Judge Hillman in the Thayer case not

to enjoin an anti-panhandling law passed by Worcester. Opp. at 3-5, 9. The City’s argument,


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however, ignores the distinct provisions in the Lowell Ordinance. With respect to the City’s ban

on ignoring a police order to stop soliciting for charity anywhere in the Downtown Lowell

Historic District—which encompasses most of downtown Lowell—the City can point to no

supporting precedent and certainly cannot rely on Thayer, which involved no similar ban. The

closest the city comes is the Eleventh Circuit’s decision in Smith v. City of Ft. Lauderdale, 177

F.3d 954 (11th Cir. 1999), which upheld a ban on solicitation on a small stretch of beach. But

the court only upheld that ban because the city allowed “begging in streets, on sidewalks, and in

many other public fora throughout the City”—i.e. in the city’s downtown. Id. at 957.

       At the same time, the City entirely ignores the litany of cases striking down across-the-

board bans on solicitation. E.g., Speet v. Schuette, 726 F.3d 867 (6th Cir. 2013); Clatterbuck v.

City of Charlottesville, 708 F.3d 549 (4th Cir. 2013); Loper v. New York City Police Dep’t, 999

F.2d 699 (2d Cir. 1993); Kelly v. City of Parkersburg, No. 6:13-cv-23260, 2013 WL 5716350

(S.D. W. Va. Oct. 16, 2013); Wilkinson v. State, 860 F. Supp. 2d 1284 (D. Utah 2012); Berkeley

Cmty. Health Project v. City of Berkeley, 902 F. Supp. 1084 (N.D. Cal. 1995), vacated in part,

966 F. Supp. 941 (N.D. Cal. 1997); Blair v. Shanahan, 775 F. Supp. 1315 (N.D. Cal. 1991),

vacated as moot, 919 F. Supp. 1361 (N.D. Cal. 1996); Benefit v. City of Cambridge, 679 N.E.2d

184 (Mass. 1997); Ledford v. State, 652 So. 2d 1254 (Fla. Dist. Ct. App. 1995); C.C.B. v. State,

458 So. 2d 47 (Fla. Dist. Ct. App. 1984); People v. Griswold, 821 N.Y.S.2d 394 (Rochester City

Ct. 2006). These cases compel the conclusion that the ban on all solicitation in downtown

Lowell violates the First Amendment.

       The ban on all solicitation in the Downtown Lowell Historic District also must fail

because it is unconstitutionally vague. The Ordinance criminalizes a vast quantity of everyday

conduct and then leaves “to the moment-to-moment judgment of the policeman on his beat”




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whom to arrest. Smith v. Goguen, 415 U.S. 556, 575 (1974); see also Memo. at 17-18. The

government cannot adopt a statute whose “plain language is admittedly violated scores of times

daily, yet only some individuals—those chosen by the police in their unguided discretion—are

arrested.” City of Houston v. Hill, 482 U.S. 451, 466-67 (1987). That is exactly what Lowell’s

Ordinance does: It criminalizes every act of asking anyone for anything in downtown Lowell,

and trusts Lowell’s police to choose who to arrest. Notably, the City does not offer any response

to Plaintiffs’ argument that the total downtown ban is unconstitutionally vague. See Opp. at 17

(addressing vagueness only with respect to the ban on “aggressive” solicitation).

         B.       The Ban On All Solicitation Downtown Is Overbroad And Does Not Leave
                  Open Adequate Channels Of Communication

        Undeterred by a dearth of legal support, the City justifies its total solicitation ban based

on its interest in providing a “pleasant environment” for tourists and businesses in the Downtown

Historic District. Opp. Ex. 5. The City cannot ban protected speech in public fora just because

tourists and business owners would prefer not to hear it. The City cites no case allowing a

government to ban protected speech in a downtown area for such reasons.1 Nor could it. Under

the City’s expansive “tourism” rationale, it is difficult to see why, e.g., Boston could not exclude

charitable solicitation in the entire North End, Back Bay, Beacon Hill, near Faneuil Hall, along

the waterfront, near interstate transportation hubs such as South Station, near any hotel,

restaurant or bar catering to tourists, or by any other museum or sports venue not already picked

up by the above geographic exclusions. A “tourism” theory would similarly exclude charitable

solicitors from most of downtown Washington, D.C. and much of Manhattan. Simply to state

the “tourism” theory for excluding charitable solicitation is to demonstrate its absurdity.


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   Many of the cases the City cites do not involve the First Amendment at all. E.g., New Orleans v. Dukes, 427 U.S.
297, 304 (1976) (preserving historical appearance is a valid government interest in Equal Protection rational basis
scrutiny).



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        Even assuming the City’s “tourism” justification is constitutionally relevant, the City has

little response to Plaintiffs’ argument that the ban is not narrowly tailored and is overbroad on its

face.    The Ordinance criminalizes activities as peaceful and non-threatening as women

requesting money to feed their children, Salvation Army volunteers ringing bells during the

holidays, and street musicians passing a hat after a performance. The City never explains how a

ban on all solicitation activities supports tourism, business, or the City’s chosen “aesthetics,”

other than to implicitly suggest that tourists do not like seeing the poor or being asked for spare

change. But the City—which ultimately bears the burden of proof in defending its law—cites no

evidence that this is so. Even if it were true, the City has cited no evidence that charitable

solicitation in downtown Lowell has cost the City a single tourist dollar; and, even if had such

evidence, the First Amendment protections of a city’s residents cannot hinge on the biases of the

city’s visitors.

        The City dismisses Plaintiffs’ examples of the numerous everyday activities the

Ordinance bans as “absurd,” “esoteric,” and “disingenuous.” Opp. at 15. It claims that “the

word ‘solicitation’ would not ordinary be used to encompass asking for a cigarette, putting out a

tip jar at a café, or trick-or-treating.” Id. But this statement—which the City never explains—is

demonstrably wrong.       Solicitation means the act of “ask[ing] for or try[ing] to obtain

(something) from someone,” Concise Oxford English Dictionary 1374 (12th ed. 2011), or “[t]he

act or an instance of requesting or seeking to obtain something,” Black’s Law Dictionary 1520

(9th ed. 2009). All of these activities involve asking for or requesting something. Indeed, it is

hard to see how these activities differ from the panhandling the City so dislikes other than the

identity of the requester: If a child on the street asking for spare change is “soliciting” money,

then a child ringing a doorbell asking for candy is “soliciting” candy. One New Hampshire town




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regulates “the act of solicitation commonly known and referred to as ‘trick or treating,’” and

UNICEF’s Campus Initiative says its Halloween fundraising “involves the distribution of small

orange boxes by schools to trick-or-treaters, in which they can solicit small change donations

from the houses they visit.” 2 Even the City police department views asking for cigarettes as

solicitation, as one of the calls the Lowell Police classified as “panhandling” involved a “LADY

IN WHEELCHAIR ASKING PEOPLE FOR CIGARETTES AND CHANGE.” Opp. Ex. 3 at

50. Although the City may wish it had passed an Ordinance that did not criminalize these

everyday activities, it did not do so. And although the City may intend to enforce the Ordinance

only against people whose solicitation it deems unpleasant, that selective enforcement would

only amplify the reasons to grant a preliminary injunction.

        The City further ignores the evidence that the true purpose for the Ordinance was to

remove the homeless from the streets of downtown Lowell, not to promote tourism, urging the

Court to simply disregard the City Councilors’ “inartfully or indelicately articulated” statements

made during debate. Opp. at 4. But the issue is not a few misplaced words: The Lowell City

Council has actively sought to drive the homeless from the City’s streets since at least 2008,

trying to remove homeless shelters and groups supporting the homeless, clear homeless

encampments, and now, silence its homeless population in the downtown. Memo. at 5-8. When

Councilor Lorrey said he wanted to “send out a message” to panhandlers: “not in Lowell,” he

was not being inartful. He was honestly stating the purpose of the Ordinance he had introduced.

        Finally, the City argues that the ban on all solicitation downtown leaves open adequate

alternate channels of communication because downtown is only five percent of the “geographic

expanse” of the City. This requires little response. “One is not to have the exercise of his liberty


2
 Berlin, N.H. City Code § 13-94; Tufts UNICEF Campus Initiative, Trick-or-Treat for UNICEF, available at
http://uniceftufts.wordpress.com/category/unicef-trick-or-treat.



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of expression in appropriate places abridged on the plea that it may be exercised in some other

place.” Se. Promotions, Ltd. v. Conrad, 420 U.S. 546, 556 (1975). Furthermore, by banning

solicitation downtown, the Ordinance forces individuals to take their speech to parts of the city

which are significantly less effective locations for soliciting donations. Memo at 16-17.

        C.      Banning Or Restricting Only Immediate Donations Of Money Is Content-
                Based, And The City Does Not Argue the Ordinance Satisfies Strict Scrutiny

       While the ban on downtown solicitation would fail even under intermediate scrutiny, the

downtown solicitation ban—and the aggressive solicitation ban—are both content-based and

therefore would have to survive strict scrutiny, which requires that a law be the “least restrictive”

means possible of addressing a “compelling” government interest. United States v. Playboy

Entm’t Grp., Inc., 529 U.S. 803, 813 (2000). Neither can meet that exacting standard.

       As Plaintiffs explained in their opening Memorandum, and the Fourth Circuit articulated

in Clatterbuck, 708 F.3d at 556, regulating solicitation for immediate donations of money while

not regulating solicitation for future donations or anything else plainly “impose[s] differential

burdens upon speech because of its content.” Turner Broad. Sys., Inc. v. FCC, 512 U.S. 622,

641-42 (1994). A homeless person who requests an immediate donation of money fifteen feet

from a public toilet violates the Ordinance, while an Amnesty International volunteer who

solicits commitments for future donations in the same location does not. The only difference

between these two people is the content of their speech: one requests money now, the other

requests money later. And as Plaintiffs already explained, that distinction is not accidental; it

targets those with immediate needs while exempting those who have the luxury to solicit future

donations. Memo. at 11.

       The City never explains how a distinction between soliciting immediate donations and

soliciting future donations or signatures is not based on content. Instead, the City: (1) argues that



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people do not “solicit” signatures; (2) inaccurately claims that Clatterbuck is alone in finding

regulation of only immediate donations of money content-based; and (3) lists inapposite cases.

These arguments are unavailing.

        The City’s argument that requesting a signature is not “solicitation” is incorrect.

Solicitation means to ask for or request something from someone, supra at 5, which clearly

encompasses requests for signatures.3               Further, other courts agree with Clatterbuck that

regulations targeting only immediate donations of money are content-based. The Ninth Circuit

held in Berger v. City of Seattle, that a regulation was content-based where it “specifically

restricts street performers from communicating a particular set of messages—requests for

donations.” 569 F.3d 1029, 1051 (9th Cir. 2009); see also ACLU of Nevada v. City of Las Vegas,

466 F.3d 784, 794 (9th Cir. 2006). Although the Seventh Circuit in Gresham v. Peterson did not

decide the question, it wrote that a restriction on immediate donation of money would “seem to

be content-based” because it “does not prohibit all solicitation on city streets, only solicitations

for immediate cash donations” and “[o]ne could . . . ask passers-by for their signatures, time,

labor or anything else, other than money.” 225 F.3d 899, 905 (7th Cir. 2000). The District of

Idaho held that regulating only solicitations of immediate donations of money is content-based

because “[t]he ordinance does not restrict solicitation of signatures for petition on a matter of

public concern, political support solicitation, religious solicitation.” ACLU of Idaho, Inc. v. City

of Boise, No. 1:13-CV-00478-EJL, 2014 U.S. Dist. LEXIS 291 at *13 (D. Idaho Jan. 2, 2014);

see also Kelly, 2013 WL 5716350 at *4; Browne v. City of Grand Junction, No. 14-CV-00809-

CMA, 2014 WL 1152020 (D. Colo. Mar. 21, 2014). Far from resting on a “slender reed,” Opp.

at 11, the Fourth Circuit’s decision in Clatterbuck is in line with the majority approach. The City


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 See, e.g., 950 Code Mass. Reg. 53.03(18)(c) (“No person shall collect or solicit signatures on nomination papers or
petitions of any kind within 150 feet of” a voting building.).



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cites no case that rejects Clatterbuck’s careful analysis. The regulation at issue in United States

v. Kokinda, 497 U.S. 720 (1990), did not target specific solicitation: It banned all immediate and

future donations of money, as well as collecting signatures in an election campaign and

commercial soliciting. Id. at 724. L.A. Alliance for Survival v. City of L.A., 22 Cal. 4th 352 (Cal.

2000), interpreted the California, not the U.S. Constitution. And the other cases the City cites

did not address Plaintiffs’ specific content-based argument.4

         Content-based regulations only survive if “necessary to serve a compelling state interest.”

Perry Educ. Ass’n v. Perry Local Educators’ Ass’n, 460 U.S. 37, 45 (1983). Because the City

identified no compelling interest, both the total and “aggressive” bans fail.

          D.       The City’s Ban On “Aggressive” Solicitation Is Not Narrowly Tailored To
                   Any Government Interest

         The City’s purported lack of “aware[ness] of any instance anywhere where a ban on

aggressive panhandling has been invalidated,” Opp. at 9, is perplexing, because Plaintiffs cited

such cases in their opening brief, and others exist. In State v. Boehler, 262 P.3d 637 (Ariz. Ct.

App. 2011), for example, the court struck down part of Phoenix’s “aggressive panhandling”

ordinance, and earlier this year the District of Idaho preliminarily enjoined Boise’s “aggressive”

panhandling ordinance, ACLU of Idaho, 2014 U.S. Dist. LEXIS 291. And many cases the City

cites involve less burdensome restrictions on solicitation. For example, the City relies heavily on

the Seventh Circuit’s decision in Gresham, but the Indianapolis ordinance at issue in that case

allowed panhandlers to solicit using signs anywhere, at any time, which was a key basis for the


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  See ISKCON of Potomac, Inc. v. Kennedy, 61 F.3d 949, 954-55 (D.C. Cir. 1995) (rejecting argument that banning
all solicitation of money was content-based by finding that regulation allowed solicitation of future donations; did
not address whether regulating solicitation for present but not future donations is content-based); Doucette v. City of
Santa Monica, 955 F. Supp. 1192, 1204-05 (C.D. Cal. 1997) (regulating solicitation of donations but not sales is
content-neutral); Thayer v. City of Worcester, No. 13-40057-TSH, 2013 U.S. Dist. LEXIS 152910 at *21-22 (D.
Mass. Oct. 24, 2013) (holding that aggressive solicitation ban is content-neutral without addressing differential
treatment of immediate and future donations); Jones v. Wasileski, No. 7:09CV00032, 2009 U.S. Dist. LEXIS
120156 at *22 (W.D. Va. Dec. 23, 2009) (same).



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court’s decision to uphold the ordinance. 225 F.3d at 901. The Lowell ordinance bans even

passive solicitation using signs. The City cannot prohibit peaceful conduct simply by labeling it

aggressive.

       The City also relies heavily on Judge Hillman’s decision in Thayer concerning the

Worcester “aggressive” panhandling ordinance, but that reliance must fail for two reasons. First,

as plaintiffs in that case are presently arguing to the First Circuit, Judge Hillman committed legal

error by reasoning that Worcester could prohibit speech that residents find “annoying.” The

Supreme Court could not have been clearer that “citizens must tolerate insulting, and even

outrageous, speech in order to provide adequate breathing space to the freedoms protected by the

First Amendment.” Boos v. Barry, 485 U.S. 312, 322 (1988) (internal quotation marks omitted);

see also Berger, 569 F.3d at 1054 (“[W]e cannot countenance the view that individuals who

choose to enter [public parks], for whatever reason, are to be protected from speech and ideas

those individuals find disagreeable, uncomfortable, or annoying.”). Second, in this case, Lowell

has submitted an incident log confirming that complaints about panhandlers principally concern

trespassing and conduct that is already prohibited by existing criminal statutes. The City has

provided no explanation of how any remaining incidents map on to the specific prohibitions of

Lowell’s “aggressive” panhandling ordinance. The City cannot justify banning a large amount

of peaceful conduct based on its desire to ban a narrower range of aggressive conduct that can be

more narrowly targeted. Casey v. City of Newport, R.I., 308 F.3d 106, 115-16 (1st Cir. 2002);

Memo. at 15-16. Thus, whatever happens in Worcester, Lowell has not shown a compelling or

substantial need in Lowell for the particular “aggressive” panhandling ordinance that it passed.

III.    CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request this Court grant a preliminary

injunction prohibiting the City from enforcing C.O. c. 222, § 222.15.


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                        Respectfully submitted,

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                        JOSHUA WOOD,

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Dated: March 28, 2014




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                                CERTIFICATE OF SERVICE


       I, Kevin P. Martin, hereby certify that as a result of filing the foregoing document

through the court’s CM/ECF system, a copy will be sent electronically to the registered

participants as identified on the Notice of Electronic Filing (NEF) and paper copies will be sent

to those indicated as non-registered participants on March 28, 2014.




                                                     /s/ Kevin P. Martin




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